Case 2:15-cv-01673-JCM-GWF Document 10-2 Filed 01/06/16 Page 1 of 17




                     EXHIBIT 2
               DMCA Subpoena and
               Response from Gurvits
        Case 2:15-cv-01673-JCM-GWF Document 10-2 Filed 01/06/16 Page 2 of 17




                                     BOSTON LAW GRO_UP,                   PC
                                            ATTORNEYS       AT   LA W

                                          825 BEACON   STREET, SUITE 20
Main (617) 928-1800                  NEWTON CENTRE,    MASSACHUSETTS    02459                  Fax (617) 928-1802




       Via Email and First Class Mail

       March 11,20]5

       Ronald D. Green, Esq.
       Randazza Legal Group
       3625 S. Town Center Drive, Suite 150
       Las Vegas, Nevada 89135
       rdg@randazza.com

               Re:     Subpoena to Borjan Solutions S.L. d/b/a Serviporno.com
                       In re AMA Multimedia, LLC: Identification of John Does 1-256
                       Pursuant to the DMCA
                       U.S. District Court of Nevada, Case No. 2:1S-ms-00005

       Dear Attomey Green,

               Please recall that this law finn represents Borjan Solutions S.L. We are in receipt of your
       subpoena pursuant to the DMCA requesting information about the individuals who uploaded
       certain videos to the servipomo.com website. A copy of that subpoena is attached hereto for
       reference as Exhibit l.

               Please be advised the Borjan Solutions S.L. is not a United States entity, is not subject to
       personal jurisdiction in the United States and is not subject to United States law. Therefore, it is
       not obligated to respond to the subpoena. However, as a courtesy and in the interest of
       cooperating with United States intellectual property owners, Borjan Solutions S.L. \ oluntarily
       submits the information requested without subjecting itself to personal jurisdiction in or the law
       of the United States.

              Please find attached as Exhibit 2 my client's response 10 the information requested in the
       subpoena.

                Should you have any questions, comments or concerns, you may contact me directly at
       6 J 7-928-1804 or at vgurvits@bostonlawgroup.com
,   Case 2:15-cv-01673-JCM-GWF Document 10-2 Filed 01/06/16 Page 3 of 17




                               Exhibit
                                  1
Case 2:15-cv-01673-JCM-GWF Document 10-2 Filed 01/06/16 Page 4 of 17




    RANDAlIA                                                                                           Ronold D. Green
                                                                                                                  Parlner
                                                                                                        LiCfJIISe(J in NY
    LEGAL               GROUP

                                                                                                    January 26,2015


    Clerk's Office, U.S. District Court
    District of Nevada - Las Vegas Division
    333 Los Vegas Boulevard South
    Las Vegas, NV 89101

                Re: DNICA Subpoena

    Dear Clerk of Court:




           1.   The Application/Declaration      tor the DMCA subpoena              to be issued;
           2.   A copy of the proposed subpoena 10 be signed by the appropriate   court officer;
           3.   A copy ot a DMCA notice sent to the subject of the subpoena, as required by the
                DMCA;


    I recognize that DMCA subpoena file requests are rare. Should you have any questions
    or require any additional items, please feel free to contact me af 702.420.2001



                                                        Sincerely,




                                                        Ronald D. Green




   encl:        Application/Declaration far DMCA subpoena
                Proposed DMCA subpaena
                Copy of DMCA takedown notice




   ---------_- _-_-------------      ._- --'~       ... ----, -------_._. __ ._- .... _
                                                   -~                               -.  ~---------.- ---. --- -- ..-_ --


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         Case 2:15-cv-01673-JCM-GWF Document 10-2 Filed 01/06/16 Page 5 of 17


AO 88B (Rev. 02/14) Subpoena (0 Produce Documents.Information,    or Obiects or (0 Permit lnspection oftn:mlSes I~tion


                                            UNITED STATES DISTRICT                                                            OU~T
                                                                                for the                                                    ,jl\N    2 5 )015
                                                                 District of Nevada
In re AMA Multimedia, LLC: Identification of John Does
            1-256 Pursuant to the DMCA                                                                                                  CLERK us DlSmlCT COURT
                                                                                            )
                                                                                                                                          OISlBICT OF NEV~DA .. r'~'i~-:-
                               Pluintif}'                                                   }                                   Y:             i             -...
                                  v,                                                        )
                                                                                            )


                             Defendant
                                                                          -                 ~             2: 15-ms !00005

                       SUBPOENATO PRODUCE DOCUMENTS,INFOJl1I0N,                 OR O~CTS
                         OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
                                      Borjan Solutions S.L. d/b/a servioome.eom      .
 To:

                                                     (NOllie o/pel"so;,        /0 ... hom          '(I,is .~lIb;)(;el/(;is di~'ec/edJ
    .,![ Production: VOl) ARE COMMANDED to produce at the time, dale, and place set forth below the following
documents. electronically stored information. or objects, and to permit inspection. copying, testing. or sampling of the
material:




 i Place:Randazza      Legal Group                                                                       i Date and Time:
             3625 S. Town Center Drive, Suite 150                                                                  February 9, 2015. 10:00 a.m. Pacific TIme
             Las Ve~as, NV 89135

      Ll II1.\'P('('Iiol1 ofPremises: YOll ARE COMMANDED to permit entry onto the designated premises. land. or
 other property possessed or controlled b) you at the time, date, and location set forth below. so that the requesting party
 may inspect. measure. survey, photograph, test. or sample the property or any designated object or operation on it.

 , Place:                                                                                                  Date and Time:




          I he follow ing provisions 01 Fed. R. Civ. P. 45 are attached - Rule 45(c), relating to the place of compliance;
 Rule '~5(d), relating 10 your protection as a person subject to 1I subpoena: and Rule 4S(e) and (g). relating to your duty to
 respond to this subpoena and the potential consequences of not doing so.
 Date'
         .
             January 26,2015
                                                                 ~.- <,       ,j ~-.' ...
                                                                                                .~~




                                                                                                                                          Attornev '.1' signature
                                                                 4,""""        .....~i_,~         ._/.   -._   .


The name. address, e-mail address, and telephone ~fR~\h.e1lftorney                                                  representing (name oj'party}
AMA Multimedia, LLC                                   ----.-.                                                         who issues or requests this subpoena, are:
Ronald D. Gre-en. -rdg@ram:lazza:com.              (702,-420-2001.
3625 S. Town Center Drive, Suite 150              Las Vegas, NV 89135.

                                Notice to the person who issues or requests this subpoena
 If this subpoena commands the production of documents. electronically stored information, or tangible things or the
 inspection of premises before trial. a notice and a copy of the subpoena must be served on each party in this case before
 it is served on the person to whom it is directed. Fed. R. Civ, P. 45(a)(4).
         Case 2:15-cv-01673-JCM-GWF Document 10-2 Filed 01/06/16 Page 6 of 17


AO 88B (Rev, 02114) Subpoena 10 Produce Documents. Infomllllion. or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No.

                                                      PROOF OF SERVICE
                      (This section should not heft/eo with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of indtvidual          Gild lit/e.   if ally)
on (date)

            o I served the subpoena by delivering a copy to the named person as follows:

                                                                                               on (dale)                                ; or

            o I returned the subpoena unexecuted because:

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day's attendance. and the mileage allowed by law, in the amount of
            $


 My fees are $                                     for travel and $                                 for services, for a total of$              0.00



            I declare under penalty of perjury that this information is true.


 Date:



                                                                                                    l'rinte d name {/1/(1 iii!"




Additional information regarding attempted service. etc ..
               Case 2:15-cv-01673-JCM-GWF Document 10-2 Filed 01/06/16 Page 7 of 17


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                                                                              _UI1lRE.O                 _SERVEDON
                                                                                                COUNSEl/PART![S   OF RECORD




                Ronald D. Green (Nevada Bar No. 7360)
                RANDAZZA LEGAL GROUP                                                     CLERK US DISTRICT COURT· :
                3625 S. Town Center Drive. Suite 150                                       DISTRICT OF NEVADA                     1
          2     Las Vegas. NV 89135
                                                                                                                          ,;ol,
                                                                                                                   ' PEPt).Lj
                                                                                 BY:
                Telephone: 702-420·2001
          3
                Facsimile: 305-437-7662
          4     ecf@randazzQ.com

          5     Attorneys for Plaintiff.
                AMA Multimedia.      LLC
           6

Cl.        7                                                            2: 15-ms-00005
~J
           8
0                                          IN THE UNITED STATESDISTRICT COURT
(_}::::
           9
(I)                                                  DISTRICT OF NEVADA
  _J      10
-<.1            In re AMA Multimedia. LlC: Identificationj            Case No.
cr)       11    ot John Does 1-256 Pursuant 10 the
                                                                      APPLICATION AND DECLARATION IN
,II
 _ J      12    Digital Mi"enniu. " Copyright      Act          J'    SUPPORT OF ISSUANCE OF SUBPOENA
                ("DMCA")       __._.__.                         _     UNDER 17 U.S.C. § 512(h)
          13
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N                                   A~PlJC~JJQN ~_NQ 1;_)_~C._bA~AJIO_N IN_~_v.PP_QllT QF
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                                   ISSUANC~_OFSU~PO~~A VN~~               )7 V_.S~C.§ 512_{h)
0
          16
Z                       Pursuant to 17 U.S.C. § S12(h). I. Ronald            D. Green.        attorney        for AMA
« 17
ex              Multimedia.     LLC ("AMA"),      hereby swear thai the purpose for which AMA seeks
          18
                the registered subpoerios      is to obtain the identity 01 alleged         copyright        Infringers,
          19
                and that such information         will only be used for the purpose of protecting                 AMA '<;
          20
                intellectual   property righ1s.
          21
                       AMA is aware of precedent             concerning     the use of Digital             Millennium
          22
          23    Copyright      Act ("DMCA")    subpoenas      10 identify   individuals     from cable            service

          24    providers in the Court of Appeals         for the District of Columbia        Circuit. Recording

          25    Industry Ass'n of America         v. Verizon Internet   Servs.. Inc., 351 F.3d 1229 (O.D.C

          26    2003), as well os the Eigh1h Circuit Court of Appeals.                 In re ( hartel      Comm 'ns.

          27
          28
                                                              - 1 -
              Case 2:15-cv-01673-JCM-GWF Document 10-2 Filed 01/06/16 Page 8 of 17




              Inc" 393 F.3d 771 (8th Cir. 2005). This matter of law, however.                          is unsettled    withi

         2    1he Ninth Circuit.
         3              It is the petitioner's    position that the Ninth Circuit Court of Appeals                     woul
         4     find contrary to these courts and would agree with the dissent in In re Charler
         5     393 F.3d at 778. A plain reading                of the DMCA will reveal that "[t]he                subpoen
         6
               power      created     by Congress         in   § 512jh) does not limit the type of servic
0_       7
               provider tor whom subpoenas                may be issued in the fight against internet piracy
=J       8
o
r:.:::
                        The only viable        way   for copyright      owners to vindicate             their intellectua
         9
C")            property     rights in a timely          manner    when     infringing     materials      are transmitte
, _J     10
<J             across peer to peer networks                is to subpoena          the [internet       service    providers,
(_ ')    11
III            a/k/a)    ISPsfor disclosure of the identities of alleged             infringers."      Id. at 779.
 .,.1    12
                        The Charter      Court's        dissent further    noted      that    "[t)he     suggestion      tho
         13
<t             copyright     holders should be lefl to file John Doe lawsuits to protect                         themselve
N        14
N
               from infringement       by subscribers of conduit           ISPslike Charter, instead of availaing
4: 15
0              themselves      of the mechanism            Congress provided            in the drnco.       is impractica
         16
Z
« 17           and contrary to legislative intent."              Id. at 782. Indeed,         "[njowhere     in the DMC
ce:
         18    did   Congress       indicate     that    copyright     holders     should     be relegated            to suc

         19    cumbersome           and expensive        measures     las filing individual       adversarial        lawsuits]

         20    against     conduit     ISPs. 1he legislative          history shows that         the     purpose       of th
         21    subpoena       power     in the       DMCA      was to obtain         the assistance         of ISPs in a
         22    expeditious      process to stop infringement."               Id.     Additionally,       the mtorrnotio
         23    sought pursuant to this subpoena                is not of anonymous           file-sharers, but rather          0

         24    registered users of the website <serviporno.com>.
         25
                        On this basis, this Court may properly grant AMA subpoena                           power unde
         26
               17 U.s.c. 512(h) in order to pursue the infringers of his copyrighted                      work.
         27
                                                                     -2-
         28
               Case 2:15-cv-01673-JCM-GWF Document 10-2 Filed 01/06/16 Page 9 of 17




               Executed   under penalty   of perjury this 26th day of January,      2015.
          2

          3                                             Respectfully   Submitted,
          4                                             RANDAZZA LEGAL GROUP
          5
                                                        !S/.RQIl9J9. Q, _gr~~n..       .
          6                                             Ronald D. Green (Nevada Bar No. 7360)
                                                        Randazzo Legal Group
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                                                        3625 S. Town Center Drive, Suite 150
          8                                             Las Vegas, NV 89135
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                Case 2:15-cv-01673-JCM-GWF Document 10-2 Filed 01/06/16 Page 10 of 17




                 Ronald D. Green (Nevada         Bar No. 7360)
                 RANDAZZA LEGAL GROUP
                 3625 S. Town Center Drive, Suite 150
            2    Las Vegas, NV 89135
                 Telephone: 702-420-2001
            3    Facsimile: 702-420-2003
            4    ecf@randazza.com

            5    Attorneys for Plaintiff,
                 AMA Multimedia, LLC
            6

D.          7                                                                2: 15-ms-00005
::J
            8
0                                           IN THE UNITED STATESDISTRICT COURT
ex
            9
(_r)                                                   DISTRICT OF NEVADA
       !   10
<··f             In re AMA Multimedia, LLC: Identification                  Case No
(_')       11    of John Does 1-256 Pursuant to the
                                                                            ATIACHMENT A TO SUBPOENA
I.LJ
           12    Digital Millennium Copyright Act
       J
                 _[Q~~A'1._         __             .               _
           13
«
N          14
N                Items and information      requested         pursuant     to this subpoena:
<
0
           15
                    1. Any and all information         in your possession pertaining           to the identity(y/ies)
Z 16                    of the lndivlduolts)   who uploaded              the videos specified    in Attachment      B
« 17
~                       infringing   AMA Multimedia,          LLC\ copyrighted        works of <serviporno.com>,
           18
                        including    but not limited    to:
           19
                            a. The users' name(s)
           20
                            b. The users' last known address(es)
           21
                            c. The users' e-mail address(es)
           22
                           d. The users' phone         number (s)
           23
           24
           25
           26
           27
                                                                   - J -
           28
            Case 2:15-cv-01673-JCM-GWF Document 10-2 Filed 01/06/16 Page 11 of 17




                 Dated:   January   26,2015   Respectfully   Submitted,
            II
        2                                     RANDAZZA LEGAL GROUP
        3                                     L.?L_Ronald_Q!J;;2L~~n  .            _.
        4                                     Ronald D. Green (Nevada Bar No. 7360)
                                              Randazza Legal Group
        5                                     3625 S. Town Center Drive, Suite 150
                                              Las Vegas, NV 89135
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              Case 2:15-cv-01673-JCM-GWF Document 10-2 Filed 01/06/16 Page 12 of 17




               Ronald D. Green (Nevada Bar No. 7360)
               RANDAZZA LEGAL GROUP
               3625 S.Town Center Drive, Suite 150
          2    Las Vegas. NV 89135
          3    Telephone: 702-420-2001
               Facsimile: 702-420-2003
          4    ecf@randazza.com

          5    Attorneys for Plaintiff,
               AMA Multimedia, LLC
          6
CL        7
::::)




                                               =.
          8
0                                         IN THE UNITED STATESDISTRICT COURT
C~
          9
CJ                                                 DISTRICT OF NEVADA
_ J      10
               In re AMA Multimedia, LLC:                            Case No.
Ci       11
               of John Does 1-256 Purs~ant to the         ..         ATTACHMENT B TO SUBPOENA
Ij I
         12    Digital Millennium Copynght Act
     J
               ("DM~~_                        _                _
         13
<X:
N        14
N                     The subpoena    requests the information         specified in Attachment   A
<{       15
0              pertaining to users of <serviponor .com> who uploaded             the following videos that
         16
Z              infringe on AMA Multimedia,        Ll C's copyrights:
« 17
c.:
         18       •   http://www.serviporno.com/videos/corrine-blake-follodo-despues-
         19           del-masaje/
                  •   http://www.serviporno.com/videos/sexy-asiatica-gozando-de-una-
         20
                      gran-polla/
         21       •   http://www.serviporno.com/videos/un-pov-con-una-mini-Iatina/
                  •   http://www.serviporno.com/videos/lo-perteccion-existe/
         22

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         28                                                    - 1
               Case 2:15-cv-01673-JCM-GWF Document 10-2 Filed 01/06/16 Page 13 of 17




                    Dated: January 26, 2015     Respectfully Submitted,
               II
           2                                    RANDAZZA LEGAL GROUP
           3                                               Q--, Gre~n_____ _
                                                /~_lS__onald                    _.. ._.   ._
           4                                    Ronald D. Green (Nevada Bar No. 7360)
                                                Randazza Legal Group
           5                                    3625 S. Town Center Drive, Suite 150
                                                Las Vegas, NV 89135
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Case 2:15-cv-01673-JCM-GWF Document 10-2 Filed 01/06/16 Page 14 of 17




   RANDAZZA
    LEGAL             GROUP

                                                                 Privileged and ConfidenHal           CommunlcaHon



                                                                                                  December 23.2014

    YiQJ!!J9jl ..Qn!Y
    Larry@firstamendment.com

    Lawrence G. Walters. Esq.
    Walters Law Group
    195 W. Pine Ave.
    Longwood. FL 32750

             Re: Infringing Material        On Serviporno.com

    Dear Lorry:

    I ern wri1ing on behalf of AMA Multimedia,           LLC ("AMA ") I/k/a SSe. Group, LLC. On 01
    about August 19, 2013, AMA settled            its copyright    claims against your clients Borjon
    Solutions S.L. d/b/a   Serviporna.com.     Borjan Mera unestotozu          one Monetia, S.I. d/b/a
    Cumlouder.com      and Wamcosh       (collectively     "Respondents").      Those cloirns related   to
    lurge amounts of AMA's copyrighted         content uppeoring        on the Servipomo.com website
    in a monne: that suggested it was being uploaded            from other tube sites by Respondents
    themselves and not by users of the Serviporno website. The settlement                  provided   that
    Respondents would toke steps 10 ensure that AM!'.'s content was not placed unlawfully
    on Respondents'      websites and that. if AMA's content             did appear   on Respondents'
    websites, il would be promptly taken down upon notification             from AMA.

    FOI  about a year otter the execution of the settlement.        AMA 's copyrightec!  content was
    largely obsent 110m the Serviporno website. However in October 01 2013, AMA observed
    thot its content      hod begun oppeorinq        on tht" site in the some manner      Ihat it hod
    appealed     in the post. Specifically, its full length videos and shorter promotional     videos.
    which oppeor       legally on other tube sites are being uploaded       to Serviporna trorn those
     lube sites. As it currently stands, AMA cannol delermine whether these videos are being
    uploaded     by Serviporno's users or by Respondents themselves. As such, we request thai
    Serviporno provide us with all mtonnotlon regarding Ihe lIser(s) who uploodeo the movies
    located at the following URls:

    hIIp./ /ww'v"i.\e, VIf)OIl lO.CC)Il)/Vf(VuS/C()11 il,f' blokl tollndo (je~pu(-;s-del·n I< lsoje/
    IIt lp./ /www sel VipOIIiO. C. orn/virjF;o,/Scxy     osrotic o gozofldo de uno gl on- pono/
    hIIJl.//www     servipomo.r om/videos/iII)         pnv ( on III'(! llIilli·ICltin(li
    ill II' //www ',(,;1vrpou ,(_l ( oI1l/Vicil~u5/lo ~celfE;( ClOII t. >j~,it /

    The tilst two links obove ole 101 sholt videos exc.eip le d 110111AMA " 1011gel IUiI-lellgttl
    viclf' os. ThE lo tter lwc- lillb contoin /'.IVIA' <, entire" luil length videos. k'esporlli<;nts 01enol



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Case 2:15-cv-01673-JCM-GWF Document 10-2 Filed 01/06/16 Page 15 of 17



   Infringing Material   on Serviporno
   Page   2 of 2




   aulhorized 10 display any of them on the Serviporno website. The original     videos to which
   AMA owns copyrights can be found on the World Wide Web at:

   http://fantasyhd.com/video/rnore-than·o-moutiliul
   hi tp:1 Ipuremo Il.Jr~.corn/video/precious-snqtch
   htJp:/ /tiny4k. com/video/ttnv-Iotmo-teen
   http://tanlosyhd.com/video/hearl-rale-hotlie

   The information AMA seeks regarding the users who uploaded           these videos includes, but
   is not limited 10: their user names, their IP addresses, their email addresses, identification
   of all other videos that these users have uploaded      to the Serviporno website, their login
   histories, and any other identifying       information   about    these users in Serviporno's
   possession. While AMA would like this information       as quickly as possible, il additionally
   recognizes that tile holidays are fast approaching.      Therefore, pursuant to the provisions
   ot the settlement agreement.      please provide us wilh this information      no later than 14
   days of the dote of this correspondence.

    l his notice is bein9 provided   in good 10ill) and witt) reasonable  certainty  Ihal AMA's
    copyrights are being infringed. We are outhorized to act on beholt of AMA as its counsel
    and c an attest Ihat 1I1e information     contoined   in this communication     is frue and
    occurote. We oppreciale     your time and o1tenlion to this matter ond look forward 10 YOUI
    response.




                                     Best regords,




                                    Ronold D Greerl
Case 2:15-cv-01673-JCM-GWF Document 10-2 Filed 01/06/16 Page 16 of 17




                             Exhibit
                                   2
Case 2:15-cv-01673-JCM-GWF Document 10-2 Filed 01/06/16 Page 17 of 17




1.   http://www.servipomo.comivideos/        corrine-blake- follada-despues-del-masaje/

     User 10:             "anonymous" staff account for uploading videos as part of affiliate
            programs with content producers
     Upload lP:           93.156.108.78
     Email address:       N/A
     Last known address: NI A
     Phone Number:        N/ A

2.    http://www.servipomo.com/videos/sexy-asiatica-gozando-de-una-gran-pollal

      User 10:             "anonymous" staff account for uploading videos as part of affiliate
             programs with content producers
      Upload IP:           93.156.108.78
      Email address:       NIA
      Last known address: NIA
      Phone Number:        NI A

3.    www.servipomo.com!videos/la-perfeccion-existe/

      User 10:                cumines
      Upload IP:              81.45.52.215
      Email address:kalentita25@hotmail.es
      Last known address: NIA
      Phone Number:           N/A

4.    www.serviporno.com/videos/un-      pov-con- una- mi ni -lati na

      User 10:                cumines
      Upload IP:              81.45.52.215
      Email address:kalentita_25@hotmaiJ.es
      Last known address: N/ A
      Phone Number:           N/A
